     Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 1 of 44



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

United States of America          :
                                  :
v.                                :       Case No. 3:05cr268 (JBA)
                                  :
Chance M. Vought and              :
John M. Lucarelli                 :


RULING ON DEFENDANTS’ PENDING MOTIONS [DOCS. ## 30, 33-35, 37-38]

     On October 14, 2005, a federal grand jury returned a twelve-

count indictment charging defendant Chance M. Vought with

conspiracy to commit mail, wire, and securities fraud in

violation of 18 U.S.C. § 371 (count one), mail fraud in violation

of 18 U.S.C. § 1341 (count four), wire fraud in violation of 18

U.S.C. § 1343 (counts five and six), and securities fraud in

violation of 18 U.S.C. § 1348 (count twelve).           The same

indictment charged defendant John M. Lucarelli with conspiracy to

commit mail, wire, and securities fraud (count one), mail fraud

(counts two through four), and securities fraud (counts seven

through twelve).    The indictment alleges a scheme in which

defendants and others conspired to illegally obtain shares of New

Alliance Bancshares, Inc. (“NAB”) in connection with a

transaction in which New Haven Savings Bank (“NHSB” or “the

Bank”) converted from a Connecticut-chartered mutual savings bank

to a Connecticut-chartered capital stock savings bank, and became

a wholly-owned subsidiary of NAB.         Indictment [Doc. # 1].


                                      1
     Case 3:05-cr-00268-JBA   Document 75    Filed 06/15/06   Page 2 of 44



     The scheme was purportedly perpetrated “by causing eligible

[NHSB] account holders to make false representations on stock

order forms submitted to NHSB and thereby acquire [s]hares [of

NAB] to transfer to defendants and their co-conspirators, who

then would and did sell the [s]hares at a profit.”             Id. ¶ 15.

     Both defendants now move to dismiss the indictment and for a

bill of particulars.     See [Docs. ## 30, 34, 35, 37].           Defendant

Vought also moves to exclude all Fed. R. Evid. 404(b) evidence of

which he claims the Government has failed to provide proper

notice [Doc. # 33] and defendant Lucarelli also moves pursuant to

Fed. R. Crim. P. 17(c) for the issuance of a subpoena for records

of the former NHSB [Doc. # 38].1         Oral argument was held on

defendants’ motions on May 15, 2006.         For the reasons that follow

the motions to dismiss and for a bill of particulars will be

denied.   Defendant Vought’s Motion to Exclude will be granted in

part and denied in part, and defendant Lucarelli’s Motion for

Issuance of a Subpoena will be granted.

I.   FACTUAL BACKGROUND

     The Indictment alleges that “[b]eginning in or about January

2004 and continuing until in or about September 2004, . . . the

defendants and others known and unknown to the Grand Jury, did

knowingly combine, conspire, confederate, and agree together and


     1
      Defendants’ Motions to Transfer [Docs. ## 32, 36] were
denied on May 15, 2006 at oral argument for the reasons set out
on the record.

                                     2
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 3 of 44



with each other,” “to illegally obtain Shares of [NAB] Stock by

causing eligible accounts holders to make false representations

on stock order forms submitted to the NHSB and thereby acquire

Shares to transfer to the defendants and their co-conspirators,

who then would and did sell the shares at a profit.”            Indictment

¶¶ 14-15.

     The subject of the alleged conspiracy was the conversion of

NHSB from a Connecticut-chartered mutual savings bank to a

Connecticut-chartered capital stock savings bank and wholly-owned

subsidiary of NAB.    Id. ¶ 7.   Under the terms of the initial

public offering, “the shares of common stock of [NAB] were

offered for sale at a price of $10.00 per share in the

subscription offering, pursuant to which rights to subscribe for

the Shares were granted to potential purchasers in five (5)

tiers, in descending order of priority from tier one to tier

five.   Tier one, members of which had first priority, was

comprised of ‘eligible account holders,’ defined as each holder

of deposit accounts with aggregate balances of $50.00 or more on

the ‘record date’ or ‘cut-off date’ of June 30, 2002.”            Id. ¶ 10.

Tier one members had the opportunity to purchase up to 70,000

shares; if tier-one depositors collectively requested more than

the available stock, each would be allocated 100 shares and the

remaining shares would be distributed pro rata based on the value

of each tier one member’s account.


                                    3
    Case 3:05-cr-00268-JBA    Document 75   Filed 06/15/06   Page 4 of 44



     The Indictment charges that defendants conspired to and did

contact eligible account holders (i.e. tier one account holders)

for the purpose of “entering into an arrangement for using their

subscription rights to purchase the Stock, including representing

to them, among other things, that: (a) a member of the conspiracy

would provide the money to buy the Stock; (b)the arrangement

would be such that the account holders would not lose money on

the transaction; and (c) the account holders would receive a

portion of the profits from the transaction.”           Id. ¶ 19.     As a

result, the Indictment alleges, these account holders signed

stock order forms containing “materially false and fraudulent

pretenses and representations including falsely certifying as

follows: ‘I am purchasing solely for my own account, and there is

no agreement or understanding regarding the sale or transfer of

the shares or the right to subscribe for the shares.’” Id. ¶ 25.

On the basis of these false and fraudulent order forms, the

account holders purchased stock (financed by the conspiracy),

endorsed the stock certificates over to the conspiracy, and

defendants ultimately sold the stock for a profit.

     The Indictment also provides that the IPO was

“oversubscribed in tier one and accordingly, Shares were not sold

beyond the first-tier.       As a result of the over subscription,

Shares were allocated in accordance with the plan of conversion

and in accordance with a formula, described in the prospectus,


                                     4
      Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 5 of 44



that based allocations upon the amount of money on deposit in an

eligible account holder’s account and the proportion that the

deposits bore to the total amount of deposits of all eligible

account holders whose subscriptions remained unfilled.”               Id. ¶

11.   According to the Indictment, “[a]s a result, certain first-

tier account holders did not receive the full amount of Stock

that they had requested.”       Id.

      As noted above, the Indictment charges conspiracy, mail

fraud, wire fraud, and securities fraud.

II.   MOTIONS TO DISMISS [DOCS. ## 30, 35]

      Upon a motion to dismiss, the allegations in the indictment

must be accepted as true.       See United States v. Alfonso, 143 F.3d

772, 776-77 (2d Cir. 1998).       “The indictment . . . shall be a

plain, concise and definite written statement of the essential

facts constituting the offense charged.”          Fed. R. Crim. P.

7(c)(1).    “[A]n indictment is sufficient if it, first, contains

the elements of the offense charged and fairly informs a

defendant of the charge against which he must defend, and,

second, enables him to plead an acquittal or conviction in bar of

future prosecutions for the same offense.”           Hamling v. United

States, 418 U.S. 87, 117 (1974) (citations omitted); accord

Alfonso, 143 F.3d at 776.       “It is generally sufficient that an

indictment set forth the offense in the words of the statute

itself, as long as those words of themselves fully, directly, and


                                      5
    Case 3:05-cr-00268-JBA    Document 75   Filed 06/15/06   Page 6 of 44



expressly . . . set forth all the elements necessary to

constitute the offence intended to be punished.”             Hamling, 418

U.S. at 177 (internal quotations omitted).          The indictment “must

descend to particulars,” however, if “the definition of an

offence . . . includes generic terms.”        United States v.

Cruikshank, 92 U.S. 542, 558 (1875) (internal citation omitted);

accord United States v. Pirro, 212 F.3d 86, 92-93 (2d Cir. 2000).

     In the absence of a full proffer of the Government’s

evidence, “the sufficiency of the evidence is not appropriately

addressed on a pretrial motion to dismiss an indictment.”

Alfonso, 143 F.3d at 776-77 (reversing dismissal of an indictment

when the district court “looked beyond the face of the indictment

and drew inferences as to the proof that would be introduced by

the government at trial” to satisfy an element of the charge);

accord Costello v. United States, 350 U.S. 359, 363 (1956) (If

“valid on its face,” a grand jury indictment “is enough to call

for trial of the charge on the merits.”) (citations and footnote

omitted).

     A.     Property Rights

     The Depositors

     18 U.S.C. § 1341 provides, in relevant part:

     Whoever, having devised or intending to devise any
     scheme or artifice to defraud, or for obtaining money
     or property by means of false or fraudulent pretenses,
     representations, or promises, . . . for the purpose of
     executing such scheme or artifice or attempting so to
     do, [uses the mails or causes them to be used], shall

                                     6
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 7 of 44



     be fined under this title or imprisoned not more than
     20 years, or both.

“To procure a conviction for mail fraud, the government must

prove three elements: (1) a scheme to defraud victims of (2)

money or property, through the (3) use of the mails.”            United

States v. Walker, 191 F.3d 326, 334 (2d Cir. 1999).2           In McNally

v. United States, 483 U.S. 350 (1987), the Supreme Court held

that § 1341 is “limited in scope to the protection of property

rights.”   Id. at 360.   McNally recognized that the phrase “any

scheme or artifice to defraud” “is to be interpreted broadly

insofar as property rights are concerned,” id. at 356, but

ultimately rejected the argument that § 1341 could protect an

intangible right to honest and impartial government services, a

holding that was subsequently overruled by the enactment of 18


     2
      As recognized in United States v. Thomas, 377 F.3d 232,
242 n.5 (2d Cir. 2004), “the mail fraud statute [§ 1341] and the
wire fraud statute [§ 1343] [both] criminalize a ‘scheme to
defraud,’” and “[b]ecause . . . these statutes use the same
relevant language, they are analyzed in the same way.” Although
not explicitly referenced in Thomas, the securities fraud
statute, 18 U.S.C. § 1348 also uses similar language although, as
the Government notes, the securities fraud statute tracks the
bank fraud statute (18 U.S.C. § 1344) and sets forth two theories
of liability: (1) engaging in a scheme to defraud in connection
with a security; and (2) engaging in a scheme “to obtain, by
means of false or fraudulent pretenses, representations, or
promises, any money or property” in connection with a security.
The Government contends that “[i]t may very well be the case
that, in connection with the second theory of liability, the
Government need not prove that the scheme placed any person at
risk of loss.” Gov’t Opp. at 12 n.2. Nevertheless, for the
purposes of defendants’ motions to dismiss, the Government
“assume[s] arguendo that risk of loss applies to both theories of
liability.” Id.

                                    7
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 8 of 44



U.S.C. § 1346 which explicitly provides that mail fraud

encompasses “scheme[s] . . . to deprive another of the intangible

right to honest services.”     See United States v. Bortnovsky, 879

F.2d 30, 39 (2d Cir. 1989) (recognizing overruling of McNally in

this regard).   As acknowledged subsequently by the Supreme Court

in Cleveland v. United States, 531 U.S. 12 (2000), McNally

recognized “that ‘the original impetus behind the mail fraud

statute was to protect the people from schemes to deprive them of

their money or property.’” Id. at 18-19 (citing McNally, 483 U.S.

at 356).

     Defendants argue that the alleged scheme does not constitute

a scheme to defraud the depositors of a property right under the

statutes because the depositors had no property, or right to

property, but only had a right to request stock, and because the

Bank’s acceptance of any such request was conditional on a number

of factors (such as the total number of shares requested and the

amount of money a requesting depositor had in his or her

account), a depositor’s right to shares was only “a possibility.”

Defendants contend that to qualify under the statutes, “the

threatened property must actually have belonged to the victim

unconditionally at the time the scheme was perpetrated.”             Vought

Mem. [Doc. # 31] at 7-9 (citing cases); see also Vought Reply

[Doc. # 52] at 15-17 (an inalienable speculative or conditional

interest, such as the possibility of purchasing stock, does not


                                    8
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06    Page 9 of 44



qualify as “property in the hands of the victim”).

     The Government responds that the opportunity to purchase

securities at a discounted price is “something of value,” which

qualifies as property under the fraud statutes.             See Gov’t Opp.

[Doc. # 42] at 17 (citing cases).       The Government notes that the

Indictment sets forth that the IPO was oversubscribed, meaning

that eligible account holders sought to purchase more shares than

were available, and had the defendants not executed their scheme,

the stock defendants obtained would have been available to

depositors who wanted to, and were entitled to, purchase those

shares.   The Government also claims that the purpose of the

defendants’ “vetting” process was to identify straw purchasers

who had sufficiently large deposits to allow defendants to

purchase significant quantities of stock.        Id. at 17-18 (citing

Indictment ¶ 20).

     In Carpenter v. United States, 484 U.S. 19 (1987), the

Supreme Court stated that the words “to defraud . . . have the

common understanding of wronging one in his property rights by

dishonest methods or schemes, and usually signifying deprivation

of something of value by trick, deceit, chicane, or

overreaching.”   Id. at 27 (internal quotation omitted).

Carpenter ultimately held that confidential business information

of the Wall Street Journal constituted “property” under the mail

fraud statute, concluding that “its intangible nature [did] not


                                    9
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 10 of 44



make it any less ‘property’ protected by the mail and wire fraud

statutes. . . . [I]t is sufficient that the Journal has been

deprived of its right to exclusive use of the information, for

exclusivity is an important aspect of confidential business

information and most private property for that matter.”             Id. at

26-27.    By contrast, in Cleveland, where defendant had made false

statements in his application to the State of Louisiana for a

license to operate video poker machines, the Supreme Court

concluded that “such a license is not ‘property’ in the

government regulator’s hands,” where “[t]he State receives the

lion’s share of its expected revenue not while the licenses

remain in its own hands, but only after they have been issued to

licensees.”   531 U.S. at 20-22.     The Court rejected a patent

analogy proposed by the Government, observing “[i]nstead of a

patent holder’s interest in an unlicensed patent, the better

analogy is to the Federal Government’s interest in an unissued

patent.   That interest, like the State’s interest in licensing

video poker operations, surely implicates the Government’s role

as sovereign, not as property holder.”        Id. at 24.

     The depositors’ interest here – an opportunity to purchase

shares at a discounted price pursuant to a specified allocation

system – seems more akin to a patent holder’s interest in an

unlicensed patent than the Government’s interest in an unissued

patent.   This is because, as the Seventh Circuit explained in


                                    10
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 11 of 44



United States v. Ashman, 979 F.2d 469 (7th Cir. 1992), “shifting

or altering of economic risk or opportunity to affect a person’s

financial position adversely deprives that person of money or

property.”   Id. at 478.     In Ashman, defendants were brokers and

traders who fraudulently manipulated customer orders to buy and

sell soybean futures “[b]y picking customer prices and opposing

traders, [thus] remov[ing] their customers from the . . .

competitive marketplace and forc[ing] the customers to accept the

results they selected, guaranteeing profits to the local

[traders] and denying the customer the opportunity to obtain a

better price.”   Id. at 477-78.     Ashman rejected “the defendants’

assertion that the . . . scheme did not rob any customer of a

tangible interest,” noting that “even though the customers may

not be entitled to any specific price, deliberate refusal to

pursue the best price the broker could obtain can constitute a

scheme to defraud.”    Id. at 478.3


     3
      Defendants’ attempts to distinguish Ashman are
unpersuasive. Defendants recognize that Ashman held that victims
were harmed financially because they lost the opportunity to
obtain the best price for their futures orders, but contend that
“there was no question that the object of the fraud there was
actual property – namely, soybean futures that the customers
actually owned and intended to sell, or money with which they
wanted to purchase futures – and they were defrauded out of that
property. Here, on the other hand, no depositors owned or were
entitled to anything.” Vought Reply. at 17-18. To the contrary,
just as the scheme in Ashman deprived customers of the
opportunity to shop for a better price in an open market, by
corrupting the execution of the Bank’s share allocation system,
defendants’s alleged scheme deprived bank depositors of their
opportunity to purchase a certain amount of shares to be

                                    11
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06    Page 12 of 44



     Somewhat similarly, in United States v. Paccione, 949 F.2d

1183 (2d Cir. 1991), the Second Circuit affirmed defendants’ mail

fraud convictions for defrauding New York City of several million

dollars in lost dumping fees.      In Paccione, defendants began

illegally operating their own landfill which thus reduced

defendants’ companies’ own dumping costs and also enticed away

other dumpers from New York City landfills (the “principal” City

landfill being the Fresh Kills landfill on Staten Island).               See

949 F.2d at 1187.    The Second Circuit rejected defendants’

argument that “the City failed to prove any cognizable loss of

dumping fees because defendants had no obligation to dump at

Fresh Kills,” reasoning that “[d]efendants and other companies

that used [defendant’s landfill] had previously dumped at Fresh

Kills, and the government presented evidence showing that City

revenues from that facility declined precipitously during the

time of operation of the [defendants’] dump.”          Id.     Compare

United States v. Henry, 29 F.3d 112, 114-15 (2d Cir. 1994)

(affirming district court’s dismissal of wire and mail fraud

charges on the basis that competing banks’ interests in a fair

bidding opportunity to serve as depositories of the Toll Bridge

Commission’s revenues did not constitute property rights under

the fraud statutes, reasoning that there was “no way of knowing

to which, if any, of the bidding banks it would have gone.               Even


determined by that system.

                                    12
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 13 of 44



in a fair process, Bank A might still have won the depositors.

The issue, therefore, is whether the competing bank’s interest in

having a fair opportunity to bid for something that would become

their property if and when it were received is in itself

property.   We conclude that it is not”); United States v. Adler,

186 F.3d 574, 575 (4th Cir. 1999) (affirming dismissal of wire

fraud conviction where defendant had been charged with failing to

pay a subcontractor the balance of the contract price upon

receiving settlement funds for breach of contract by a second

subcontractor, reasoning that whatever interest the subcontractor

had in the “particular settlement proceeds received [by

defendant]” did not constitute a property right sufficient for

fraud prosecution, finding that the subcontractor’s “claim on

debt is distinct from a claim to particular funds to satisfy that

debt and [] the mere existence of the former does not give rise

to the latter”).4


     4
      Defendants cite several other cases in support of their
argument that to qualify under the statutes, the victim’s right
to the property must be then-existing and unconditional, arguing
that at the time of the alleged scheme, the depositors only had a
possibility of obtaining stock, a right that was explicitly
inalienable. However, these cases do not create a requirement
that the “thing of value” be alienable, nor do they stand for the
proposition that where a certain group of people are entitled to
purchase property in accordance with a predetermined system, a
scheme to corrupt that system does not deprive them of that
entitlement; rather they stand for the proposition that the
target of the allegedly fraudulent scheme must constitute
property “in the hands” (i.e., from the perspective) of the
victim. See Pasquantino v. United States, 544 U.S. 349 (2005)
(“Canada’s right to uncollected excise taxes on the liquor

                                    13
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 14 of 44



     Applying the analyses from Ashman and Paccione, while the

actual shares of sock were not yet owned by the depositors, the

depositors had a right – pursuant to the Bank’s predetermined

share allocation formula – to obtain a certain number of those

shares, which amount was, as alleged in the Indictment, reduced

by defendants’ scheme, thus representing a cognizable loss.

     The Bank

     The Government also advances the theory that the defendants

sought to interfere with a property right of the bank, namely the

bank’s right to control its own assets.        Gov’t Opp. at 12.        The

Government contends that under Second Circuit law, “the right to



petitioners imported into Canada is ‘property’ in its hands.
This right is an entitlement to collect money from petitioners,
the possession of which is “something of value” to the Government
of Canada. . . . Valuable entitlements like these are ‘property’
as that term is ordinarily employed.”); United States v. Pierce,
224 F.3d 158 (2d Cir. 2000) (where the Government alleged a
scheme “to defraud the Canadian government of . . . its right to
obtain property, its right to be paid money,” defendants’
convictions would be reversed for lack of evidence “that Canada
imposes duty on imported liquor in the first place,” because
without such evidence “the government [could not] prove a scheme
to defraud the Canadian government because there is no evidence
whatsoever of a property right – a right to revenue – of which
the Canadian government could be defrauded”); United States v.
Novod, 923 F.2d 970 (2d Cir. 1991) (permit issued to private
person to operate dumping site did not constitute property in the
hands of the state government); United States v. Eckhardt, 843
F.2d 989 (7th Cir. 1988) (charge that defendant interfered “with
the IRS’s proper ascertainment and collection of income taxes
[but not] that he deprived the government of revenue” did not
support indictment because “[t]he connection between the charged
conduct and the loss of revenue . . . is too tenuous and
speculative to constitute an actual deprivation of money or
property”).

                                    14
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 15 of 44



control one’s assets is protected as property under the fraud

statutes.”   Id. (citing cases).     Defendants respond that the

statutes “by their terms expressly limit the types of fraudulent

schemes that are prohibited to those directed at obtaining

‘money’ or ‘property,’” and that “these laws are not catch-all

prohibitions on deceptions or false statements of every type.”

Vought Reply at 3.    Defendants thus claim that the Government’s

“novel argument that the Bank was deprived of the intangible

‘right to control’ which depositors would receive stock [f]ails

as a matter of law” because “[i]n the absence of loss – or even

the possibility of loss – the newly asserted right of the Bank to

‘control its assets’ is not a property right and thus it cannot

form the basis for the mail, wire, and securities fraud charged

in the Indictment.”    Id.

     In United States v. Wallach, 935 F.2d 445 (2d Cir. 1991),

the Second Circuit found that “[e]xamination of the case law

exploring the ‘right to control’ reveals that application of the

theory is predicated on a showing that some person or entity has

been deprived of potentially valuable economic information. . . .

Thus, the withholding or inaccurate reporting of information that

could impact on economic decisions can provide the basis for a

mail fraud prosecution.”      Id. at 462-63.     Accordingly, the

alleged misrepresentations must be of “independent value” or

“bear on the ultimate value of the transaction” to the Bank.                See


                                    15
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 16 of 44



United States v. Mittelstaedt, 31 F.3d 1208, 1217 (2d Cir. 1994).

     The Government’s “right to control” theory in this case can

best be analogized to United States v. Schwartz, 924 F.2d 410,

421 (2d Cir. 1991), in which the Second Circuit concluded that

due to defendants’ misrepresentations, the government contractor

victim did not receive “all it bargained for,” because it

“insisted its product not be exported from the country illegally

and defendants’ conduct deprived [it] of the right to define the

terms for the sale of its property in that way, and cost it, as

well, good will because equipment Litton, a government

contractor, sold was exported illegally.”         The court found that

Litton, the government contractor, “made explicit its requirement

that the equipment not be exported without proper permits and

expressly demanded assurances from [defendants] that the

purchased devices would not be used to violate the arms export

laws and regulations” and, as a Litton executive testified at

trial, “if [defendants] had not been able to guarantee these

conditions, Litton would not have sold its product to them.”                Id.

The Schwartz court thus distinguished other cases where the

“false representations were collateral to the bargain and did not

cause any discrepancy between benefits reasonably anticipated and

actual benefits received [and] [t]hus, the deceit did not go to

an essential element of the bargain.”        Id. at 420.

     As was the case in Schwartz, the Indictment here alleges


                                    16
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 17 of 44



that the Bank expressly conditioned share purchases on the

purchaser certifying: “I am purchasing solely for my own account,

and there is no agreement or understanding regarding the sale or

transfer of the shares or the right to subscribe for the shares.”

Indictment ¶ 25.    The Bank insisted that this certification be

made pursuant to federal banking regulations.          See 12 C.F.R. §§

563b.320, 536b.340.    Thus, like the misrepresentations made in

Schwartz, defendants’ alleged misrepresentations to the Bank went

to an essential element of the bargain – that is, the assurance

that depositors were purchasing shares on their own behalf and

not pursuant to any agreement or understanding with a non-

depositor.   See also United States v. Frank, 156 F.3d 332, 335-36

(2d Cir. 1997) (affirming convictions for conspiracy to commit

mail fraud where municipalities contracted with defendants for

waste disposal at least 106 miles from shore, pursuant to federal

law, and defendants “routinely dumped sludge in waters short of

the 106-mile site, and . . . nonetheless participated in a

fraudulent scheme to bill the municipalities by mail as if all of

the waste disposal had occurred at the 106-mile site” subjecting

municipalities to potential fines and loss of environmental

permits).

     This case, like Schwartz, can thus be distinguished from

cases cited by defendants, including United States v. Starr, 816

F.2d 94 (2d Cir. 1987), and United States v. Regent Office Supply


                                    17
    Case 3:05-cr-00268-JBA   Document 75    Filed 06/15/06   Page 18 of 44



Co., 421 F.2d 1174, 1179-82 (2d Cir. 1970), because in those

cases the alleged victims were not deprived of any essential

element of the bargain.      In Starr, defendants allegedly

perpetrated a scheme in which they represented to their customers

that money paid would be used for mailing their customers’

business brochures, when in fact only a portion of the funds were

used for postage, and the remainder was pocketed by the

defendants.   See id. at 99.     The Second Circuit reversed

defendants’ convictions, noting “[m]isrepresentations amounting

only to a deceit are insufficient to maintain a mail or wire

fraud prosecution.    Instead, the deceit must be coupled with a

contemplated harm to the victim.         Moreover, the harm contemplated

must affect the very nature of the bargain itself.”             Id. at 98.

The evidence showed that the Starr defendants “did in fact mail

their customers’ brochures as promised and caused them to arrive

at the correct destination.      The agreement for timely shipment

and handling of bulk mail was the basis of the bargain between

the Starrs and their customers,” and thus the Second Circuit

could not identify any harm defendants intended to inflict on

their customers.    Id. at 99.    It held that “[t]he Starrs in no

way misrepresented to their customers the nature or quality of

the service they were providing.         Indeed, satisfied customers

were a necessary ingredient in the successful operation of their

business.   Therefore, because [their] customers received exactly


                                    18
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 19 of 44



what they paid for, there was no discrepancy between benefits

reasonably anticipated and actual benefits received.            An intent

to defraud the lettershoppe customers was not demonstrated either

directly or circumstantially.”      Id.

     In Regent Office Supply, the Second Circuit also reversed

defendants’ wire fraud convictions, finding that there was no

showing that defendants’ agents made any false representations in

connection with sales of stationery supplies regarding the

quality or price of the merchandise, noting “[defendants’] agents

did not attempt to deceive their prospective customers with

respect to the bargain they were offering; rather, they gave a

false reason for being able to offer the bargain.”            421 F.2d at

1179-82.

     Accordingly, the Court concludes that, as it is alleged in

the Indictment, defendants’ fraudulent scheme went to an

essential element of the bargain between the straw purchasers and

the Bank regarding the sale of the Bank’s stock sufficient to

implicate money or property under the fraud statutes.5


     5
      In his reply brief, defendant Lucarelli requests “[i]n view
of the Government’s recent identification of the NHSB as a victim
. . . that the Court inspect the grand jury minutes in this case
to determine whether the addition of the NHSB as a victim is
supported by the grand jury testimony and instructions to the
grand jury. . . . The grand jury record may reveal that the grand
jurors were not even told that the Indictment would include a
charge that the NHSB was a victim of fraud.” Lucarelli Reply at
5 n.3. “Grand jury proceedings carry a ‘presumption of
regularity’ [and] [a] review of grand jury minutes is rarely
permitted without specific factual allegations of government

                                    19
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 20 of 44



     B.    Intended Target of the Scheme

     Defendants next contend that the depositors-as-victims

theory is not viable because in order for a fraud charge to be

legally cognizable the entity allegedly deceived (the Bank) must

be the same as the person or entity allegedly deprived of a

property right (the depositors who received less stock than they

sought).   See Vought Mem. at 10-11 (“Those victimized by a

criminal scheme to defraud must themselves have been the actual

or intended target of the fraud under each of the mail, wire, and

securities fraud statutes.”).      The Court does not agree that such

a disconnect precludes a prosecution for mail, wire, or

securities fraud under the Government’s depositors-as-victims

theory.

     In McNally, the Supreme Court explained that “the words ‘to

defraud’ commonly refer to wronging one in his property rights by

dishonest methods or schemes, and usually signify the deprivation

of something of value by trick, deceit, chicane or overreaching.”

483 U.S. at 358 (internal quotation omitted).          The Supreme Court

also stated that it “believe[d] that Congress’ intent in passing

the mail fraud statute was to prevent the use of the mails in



misconduct.” United States v. Torres, 901 F.2d 205, 232-33 (2d
Cir. 1990). Defendant Lucarelli’s speculation – in a footnote in
his reply brief – that this theory may not have been presented to
the grand jury, without any specific factual allegations to
support his claim, does not meet this standard and thus the
request will be denied.

                                    20
    Case 3:05-cr-00268-JBA    Document 75   Filed 06/15/06   Page 21 of 44



furtherance of such schemes,” noting, “[i]nsofar as the spare

legislative history reveals anything, it indicates that the

original impetus behind the mail fraud statute was to protect the

people from schemes to deprive them of their money or property.”

Id. at 356, 358.    McNally does not identify any requirement, in

the legislative history or elsewhere, of a convergence between

the person or entity deceived, and the person or entity deprived.

     Nevertheless, the Second Circuit in United States v. Evans,

844 F.2d 36 (2d Cir. 1988), considered the issue in dicta, noting

the McNally court “did not focus on whether the person deceived

also had to lose money or property,” but stating “[n]onetheless,

this may be the correct view of the statute.           If a scheme to

defraud must involve the deceptive obtaining of property, the

conclusion seems logical that the deceived party must lose some

money or property.”    Id. at 39.     The Evans court emphasized that

the Supreme Court found the intent of the mail fraud statute was

“to protect the people from schemes to defraud them of their

money or property,” and defined “to defraud” as “to wronging one

in his property rights by dishonest methods or schemes.”              Id.

(emphasis in original).      However, these quotations from McNally

by their words do not impose the convergence requirement

hypothesized by Evans.       See Corcoran v. Am. Plan Corp., 886 F.2d

16, 20 (2d Cir. 1989) (finding it unnecessary to decide “whether

the mail fraud statute requires that the party deceived also be


                                     21
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 22 of 44



the party injured,” noting that subsequent to Evans, “the Supreme

Court decided Schmuck v. United States, . . . affirming the mail

fraud convictions of a used car distributor who set back

odometers to a lower mileage before selling cars to retailers.

Presumably, both the retailers and their customers who ultimately

bought the cars were deceived, while in at least some cases only

the customers sustained economic injury.         The Court did not

address the question whether the same party must be both deceived

and injured to state a violation of section 1341”); see also

United States v. Christopher, 142 F.3d 46, 54 (1st Cir. 1998)

(declining to adopt a convergence theory on appeal of a wire

fraud conviction, noting “[n]othing in the mail and wire fraud

statutes requires that the party deprived of money or property be

the same party who is actually deceived. . . . McNally itself

says nothing about convergence.      We see no reason to read into

the statutes an invariable requirement that the person deceived

be the same person deprived of the money or property by fraud.”).

But see United States v. Lew, 875 F.2d 219, 221-22 (9th Cir.

1989) (inferring from McNally a requirement that “the intent must

be to obtain money or property from the one who is deceived”).6


     6
      Of the cases in this Circuit to have considered the Second
Circuit’s dicta in Evans, the closest cases are civil RICO cases,
where proof of a predicate act under the fraud statutes is a
necessary element, in the context of assessing whether a
particular plaintiff has standing to assert a claim. The Second
Circuit in United States v. Eisen, 974 F.2d 246 (2d Cir. 1992),
noted “[s]ome District Courts in this Circuit have concluded that

                                    22
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 23 of 44



     Rejection of a convergence requirement under the statutes is

also consistent with the dicta in Starr, the case in which

defendants’ convictions were reversed for absence of evidence of

intent to harm where their customers’ brochures were sent in the

manner promised.    In that case, Judge Newman noted in concurrence

that “[t]he Government has simply indicted the defendants for



this Court’s dicta in Evans stands only for the proposition that
a civil RICO plaintiff must have been injured to have standing
under section 1964.” Id. at 253 n.2 (citing cases). For
example, in Trautz v. Weisman, 819 F. Supp. 282 (2d Cir. 1993),
the court rejected defendants’ argument that “RICO requires a
convergence or causal connection between the deceived and the
injured.” Id. at 286. Trautz noted that the Second Circuit did
not decide this issue in Evans, explained that “[a]fter surveying
the caselaw, it seems clear that the question of whether the mail
and wire fraud statutes, and by extension RICO, require that the
party deceived also be the party injured remains unsettled in
this circuit. In our research we have found no cases which hold
that a convergence of the deceived and injured is required to
demonstrate proximate causation for a RICO claim.” Id. The
court thus “decline[d] to read a convergence theory into the RICO
statute.” Id. Accord Shaw v. Rolex Watch U.S.A., Inc., 726 F.
Supp. 969, 973 (S.D.N.Y. 1989) (rejecting defendants’ arguments
in support of dismissal, holding “[a] plaintiff who is injured as
a proximate result of fraud should be able to recover regardless
of whether he or a third party is the one deceived,” noting that
in both Evans and Corcoran, “the plaintiff was the party who was
deceived and not the party injured. The case at bar presents the
opposite situation. The dicta in Evans and Corcoran should not
be extended to deny recovery to a plaintiff who was proximately
injured by defendants’ deception of a third party. A more
logical reading of that language is merely that a plaintiff who
has not suffered an injury recognized by the mail fraud statute
lacks standing”); see also American Express Co. Shareholder
Litig., 840 F. Supp. 260, 266 (S.D.N.Y. 1993) (rejecting
defendant’s argument that “plaintiffs’ mail and wire fraud
allegations [we]re inadequate because the persons deceived by the
scheme . . . were not the same persons injured thereby,” noting
“this Court has twice rejected this proposition”), aff’d 39 F.3d
395 (2d Cir. 1994).

                                    23
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 24 of 44



defrauding the wrong party.      An indictment for defrauding the

Postal Service would have led to a conviction that would surely

have been affirmed.”     816 F.2d at 102.     Judge Newman’s

observation suggests that the Government’s depositors-as-victims

fraud theory in this case – alleging that misrepresentations made

to the Bank caused harm to depositors who received fewer shares

than they sought to purchase - is viable, because in Starr the

defendants’ misrepresentations were made to the customers, who

suffered no harm, but in the view of Judge Newman, a conviction

on an indictment alleging intent to deprive the Postal Service of

money or property (notwithstanding that defendants did not

actually deceive the Postal Service), would have been upheld.

     In light of the fact that the Second Circuit has not yet

passed on the convergence requirement urged by defendants, and

given the above, including Judge Newman’s dicta in Starr, the

Court declines to read such a requirement into the text of the

statutes, particularly where the legislative intent behind the

statutes “to protect the people from schemes to deprive them of

their money or property,” see Cleveland, 531 U.S. at 18-19

(citing McNally, 483 U.S. at 356), does not imply such a

requirement.

     C.   Requisite Criminal Intent

     Defendants’ final argument in support of dismissal is that

because “[a] conviction for all of the charged offenses requires


                                    24
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 25 of 44



proof that the defendant acted with the intent and purpose of

harming the victim,” and given that “‘victims’ did not exist at

the time of the alleged scheme, as a matter of law it is not

possible for [defendants] to have formed the requisite intent.”

Vought Mem. at 13.    “There is no way that [defendants] – or

anyone – could have known whether any such ‘victims,’ would ever

exist, much less form an intent to harm such victims.”             Id.      The

Government responds that “the sufficiency of the government’s

evidence of the conspirators’ fraudulent intent is not considered

on a motion to dismiss the indictment,” and claims that

defendants’ argument “misses the point” because, inter alia: (1)

the Government may be able to prove that defendants knew or

believed that depositors would be prevented from purchasing all

of the stock that they were eligible to receive; (2) “the mere

fact that property, or a property right, had not yet been

transferred to a victim does not mean that the defendants were

incapable of devising a scheme to prevent the victim from

obtaining it;” and (3) “it cannot possibly be the case a

defendant must know the full identity of a victim in order for

there to be fraud.”    Gov’t Opp. at 22-23.

     Defendants acknowledge that “the absence of a defendant’s

criminal intent would not ordinarily be the subject of a motion

to dismiss,” but contend that “in this case the Government cannot

and would never be able to prove that [defendants] intended to


                                    25
    Case 3:05-cr-00268-JBA    Document 75    Filed 06/15/06   Page 26 of 44



harm any Secondary Depositors or the Bank by [their]

participation in the Bank stock offering” because “prior to the

deadline for submission of stock orders . . . no one . . . knew

how many depositors would order Bank shares, the number of shares

that would be ordered, or the number of shares that would be

issued, which could have ranged from approximately 65.9 million

to 102.5 million, depending on subscriber interest.”              Vought

Reply at 27.   “In light of such uncertainty,” defendants claim,

“it simply is not possible, and will not ever be possible, for

the Government to establish that [defendants] intended to harm

non-existent victims.”       Id. at 27-28.

     As the Government notes, “the sufficiency of [its] evidence

of the conspirators’ fraudulent intent is not considered on a

motion to dismiss the indictment.         In order to charge a crime, an

indictment need only track the language of the statute alleged to

have been violated and, if necessary, state the time and place of

the offense in approximate terms.”          United States v. Martin, 411

F. Supp. 2d 370, 373 (S.D.N.Y. 2006) (citing United States v.

Flaharty, 295 F.3d 182, 198 (2d Cir. 2002)).            “It is well settled

that an indictment is sufficient if it, first, contains the

elements of the offense charged and fairly informs a defendant of

the charge against which he must defend, and, second, enables him

to plead an acquittal or conviction in bar of future prosecutions

for the same offense.”       Alfonso, 143 F.3d at 776.


                                     26
       Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 27 of 44



       Here, the Indictment tracks the relevant statutes and

alleges, inter alia, that defendants “knowingly, willfully, and

with intent to defraud, devised and intended to devise a scheme

and artifice to defraud and to obtain money and property by means

of materially false and fraudulent pretenses, representations,

and promises.”      Indictment Counts 2-5 ¶ 2 (mail fraud); Counts 5-

6, ¶ 2 (wire fraud); Counts 7-12 ¶ 2 (securities fraud).

Ultimately, “the government must show that some actual harm or

injury was contemplated by the schemer,” Dinome, 86 F.3d at 283,

and “[i]t is not sufficient that [the] defendant realizes that

the scheme is fraudulent and that it has the capacity to cause

harm to its victims,” United States v. Bifulco, 127 Fed. Appx.

548, 550 (2d Cir. 2005).         “The money or property deprivation must

be a goal of the plot, not just an inadvertent consequence of

it.”    United States v. Regan, 713 F. Supp. 629, 637 (S.D.N.Y.

1989).

       While defendants argue that such proof is impossible as a

matter of law, the Court disagrees and will await the trial

evidence of whether or to what extent defendants anticipated the

harm their scheme might have on depositors who were otherwise

eligible to purchase the shares that defendants obtained.

Indeed, from the scheme alleged, defendants sought out depositors

with large accounts to ensure they would be able to purchase

significant amounts of stock even in the event the IPO was


                                       27
    Case 3:05-cr-00268-JBA   Document 75    Filed 06/15/06   Page 28 of 44



oversubscribed.    Further, it is clear from the face of the

Indictment that the alleged “goal” of the scheme was to obtain

shares of NAB stock to which defendants were not entitled but to

which legitimate depositors were entitled in accordance with a

predetermined allocation system.         See United States v. Trapilo,

130 F.3d 547, 552 (2d Cir. 1997) (“[A]s the statute plainly

states, what is proscribed is use of the telecommunication

systems of the United States in furtherance of a scheme whereby

one intends to defraud another of property.           Nothing more is

required.    The identity and location of the victim, and the

success of the scheme, are irrelevant.”). Thus, absent a full

proffer of the Government’s evidence, which has not been made and

is not required on a motion to dismiss, the Court cannot

determine whether the Government’s evidence will suffice to prove

the requisite fraudulent intent.         At this stage, the Indictment

tracks the statutory language and contains an alleged scheme

which is adequate to survive dismissal.

     D.     Summary

     Thus, for the foregoing reasons, defendants’ Motions to

Dismiss [Docs. ## 30, 35] will be denied.

III. MOTIONS FOR BILL OF PARTICULARS [DOCS. ## 34, 37]

     Defendants also move for a bill of particulars on the basis

that they “not only face[] an indictment which alleges facts

never prosecuted before, . . . [the] Indictment is so vague as to


                                    28
    Case 3:05-cr-00268-JBA     Document 75   Filed 06/15/06   Page 29 of 44



deprive [defendants] of the ability to defend [themselves]

adequately and to understand with certainty with which conspiracy

[they] ha[ve] been charged.”        Lucarelli Mem. at 3.        Following

briefing on defendants’ motions the Government provided

defendants with some additional discovery materials and thus

defendants’ motions were narrowed at oral argument to a request

for disclosure concerning the Government’s theory of fraud,

including identification of the claimed victims of the alleged

fraud, and a request for the identification of all members of the

conspiracy alleged in the Indictment.          See Tr. at 67-68, 70.

     The Government opposes defendants’ requests, arguing that

“[p]ursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure, a bill of particulars is appropriate only where

necessary to inform a defendant of the charge against him with

sufficient specificity to enable him to prepare his defense, to

avoid or minimize the danger of surprise at trial, and to allow

him to plead his acquittal or conviction in bar of future

prosecution for the same offense,” and that defendants have not

met this burden here.        Gov’t Opp. at 37 (citing cases).         The

Government contends that defendants’ requests overreach the

bounds of what may be sought by way of a bill of particulars and

claims that “[t]he indictment here is far from a basic cookie-

cutter document; rather, in more than twenty-one pages, it

provides extensive detail about the charged crime.”              Id. at 40.


                                      29
    Case 3:05-cr-00268-JBA   Document 75    Filed 06/15/06     Page 30 of 44



The Government also argues that the Government’s legal theory has

been provided in its briefing and “[t]herefore, the defendants

have been fully apprised of the nature of the conspiracy charged,

the identity of the alleged victims, and the property that is the

subject of the fraud charge, as requested.”           Id. at 41.

     “It has long been settled that an indictment is adequate so

long as it contains the elements of the offense, sufficiently

apprises the defendant of what he must be prepared to meet, and

is detailed enough to assure against double jeopardy.”                United

States v. Salazar, 485 F.2d 1272, 1277 (2d. Cir. 1973).

Accordingly, Rule 7(f) “permits a defendant to seek a bill of

particulars in order to identify with sufficient particularity

the nature of the charge pending against him, thereby enabling

defendant to prepare for trial, to prevent surprise, and to

interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.”         United States v. Bortnovsky,

820 F.2d 572, 574 (2d Cir. 1987).        Courts have “consistently

sustained indictments which track the language of a statute and,

in addition, do little more than state time and place in

approximate terms,” Salazar, 485 F.2d at 1277, and thus “[a] bill

of particulars is required ‘only when the charges of the

indictment are so general that they do not advise the defendant

of the specific acts of which he is accused.’”               United States v.

Ojeikere, 299 F. Supp. 2d 254, 260 (S.D.N.Y. 2004) (quoting


                                    30
       Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 31 of 44



United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990)).                    “The

decision to grant or deny a bill of particulars is within the

sound discretion of the district court.”            United States v.

Davidoff, 845 F.2d 1151, 1154 (2d Cir. 1988).

       “Generally, if the information sought by defendant is

provided in the indictment or in some acceptable alternate form,

no bill of particulars is required.”          Bortnovsky, 820 F.2d at

574.    Additionally, “[i]t is repeated over and over again in the

cases that a bill of particulars may not call for an evidentiary

matter.     Other cases say the government will not be required to

disclose its legal theory on a bill of particulars.”               United

States v. Ganim, 225 F. Supp. 2d 145, 156 (D. Conn. 2002) (citing

Wright & Miller, Fed. Practice & Procedure 3d, § 129 at 659-60);

accord Davidoff, 845 F.2d at 1154 (“The prosecution need not

particularize all of its evidence.”); Ojeikere, 299 F. Supp. 2d

at 260 (“The Government may not be compelled to provide a bill of

particulars disclosing the manner in which it will attempt to

prove the charges, the precise manner in which the defendant

committed the crimes charged, or a preview of the Government’s

evidence or legal theories.”).         Further, “[t]he crucial question

is whether the information sought is necessary, not whether it is

helpful.”     United States v. Love, 859 F. Supp. 725, 738 (S.D.N.Y.

1994), aff’d sub. nom. United States v. Roberts, 41 F.3d 1501 (2d

Cir. 1994).


                                       31
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 32 of 44



     With respect to the request for identification of all

alleged co-conspirators, defendants argue that such information

is necessary both for double jeopardy purposes and so that

defendants are aware of what hearsay testimony will be admissible

as statements by co-conspirator pursuant to Fed. R. Evid. 801(d).

However, this is not the sort of information the Government will

be required to disclose in light of the Indictment’s considerable

detail.   See Wong Tai v. United States, 273 U.S. 77, 82 (1927)

(affirming denial of bill of particulars “setting forth with

particularity the specific facts in reference to several overt

acts alleged in the indictment,” “which in effect sought a

complete discovery of the Government’s case in reference to the

overt acts”); United States v. Torres, 901 F.2d 205, 233-34 (2d

Cir. 1990) (affirming district court’s denial of motion for bill

of particulars which sought identification of co-conspirators and

precise dates and locations that defendant was alleged to have

engaged in overt acts in furtherance of the conspiracy);

Ojeikere, 299 F. Supp. 2d at 260-61 (denying motion for bill of

particulars disclosing, inter alia, the identities of unnamed co-

conspirators, where the initial criminal complaint, superseding

indictment, and discovery materials adequately explained the

specific acts of which defendant was accused in sufficient detail

to eliminate possibility of surprise and allow defendant to

interpose a double jeopardy plea, noting “demands for particular


                                    32
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 33 of 44



information with respect to where, when and with whom the

Government will charge the defendant with conspiring are

routinely denied”); United States v. Reinhold, 994 F. Supp. 194,

201 (S.D.N.Y. 1998) (denying motion for bill of particulars

seeking identification of unnamed alleged co-conspirators where

the indictment was detailed in its allegations and defendants had

extensive discovery, concluding that “there is no danger that,

absent a bill of particulars, the defendants will be unfairly

surprised at trial,” and noting “[s]o long as the defendant [is]

adequately informed of the charges against him and [is] not

unfairly surprised at trial as a consequence of the denial of the

bill of particulars, the trial court has not abused its

discretion”).   Further, as to the hearsay issue, the Government

acknowledged at oral argument that hearsay will not be admissible

for those witnesses not identified as “co-conspirators”

sufficiently before trial.      See Tr. at 84.

     As to the request concerning the Government’s theory of the

case, a bill of particulars is not properly directed to

disclosure of the prosecution’s legal theory such as, in this

case, the Government’s fraud theory, including the claimed

victims of the alleged fraud.      Further, the information sought

has been provided either in the indictment or by the Government’s

discovery and the Government’s fraud theories have now been

previewed in briefing on defendants’ motions.          The Government


                                    33
     Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 34 of 44



represented it “do[es] not have any intention of adding to the

victims other than the[] two discrete groups of victims with the

separate theories associated with them that [were briefed and

argued],” Tr. at 71, and will be held to its representation.

     Thus, defendants have failed to demonstrate the necessity of

a bill of particulars either to assist them in preparation of

their defense or to eliminate any surprise at trial, particularly

given the extensive briefing of the Government’s legal theories

in the case, nor have they shown prejudice for double jeopardy

purposes.   Defendants’ Motions for a Bill of Particulars will

therefore be denied.

V.   MOTION TO EXCLUDE RULE 404(B) EVIDENCE [DOC. # 33]

     Defendant Vought also seeks to exclude any Fed. R. Evid.

404(b) evidence on the basis that the Government has failed to

provide proper notice of such evidence as required by the

District of Connecticut’s Standing Order on Discovery, and

because such evidence is prejudicial and should be excluded under

Fed. R. Evid. 403 in any event.       Vought also argues that “where

the Government itself has raised the possibility of offering this

evidence in its case-in-chief, early review of this proposed

evidence is warranted, and the Court should direct the Government

to disclose the purpose for which it believes the evidence would

be relevant and to detail for the Court and counsel its theory of

relevance so that the issue can be resolved well before trial.”


                                     34
    Case 3:05-cr-00268-JBA    Document 75   Filed 06/15/06   Page 35 of 44



Vought Reply at 35.

     The Government responds that its disclosure “explicitly

itemizes (1) the identity of the prior transaction that may be

introduced; (2) the persons involved in the transaction; and (3)

the amount of funds involved in the transaction,” and contends

that this satisfies the requirements of Rule 404(b) in

“appris[ing] the defense of the general nature of the evidence of

extrinsic acts.”    Gov’t Opp. at 29 (citing Fed. R. Evid. 404(b),

Advisory Comm. Notes).       The Government also claims that the more

general language in its disclosure (“any other such evidence...”)

constituted a reservation of its rights (“the United States

reserves the right to introduce any other such evidence...”), and

is not intended as a “limitless designation.”           Id. at 30-31.7

     Under Rule 404(b),

     Evidence of other crimes, wrongs, or acts . . . may . .
     . be admissible for other purposes, such as proof of
     motive, opportunity, intent, preparation, plan,
     knowledge, identity, or absence of mistake or accident,
     provided that upon request by the accused, the
     prosecution in a criminal case shall provide reasonable
     notice in advance of trial, or during trial if the
     court excuses pretrial notice on good cause shown, of
     the general nature of any such evidence it intends to
     introduce at trial.

This District’s Standing Order on Discovery provides that the

Government shall disclose to defendant, within 10 days of


     7
      The Government advises that it anticipates moving in
limine to seek the Court’s guidance on its 404(b) evidence, at
which time the Rule 403 issues identified by defendants can be
fully developed.

                                     35
    Case 3:05-cr-00268-JBA     Document 75   Filed 06/15/06   Page 36 of 44



arraignment “[a]ll information relating to other crimes, wrongs

or acts by the defendant that will be offered as evidence by the

government at trial pursuant to Federal Rule of Evidence 404(b).”

Conn. Local. Crim. Rule Appx., Standing Order on Discovery

(A)(13).   The Advisory Committee Notes to Rule 404(b) state that

“no specific form of notice is required.           The Committee

considered and rejected a requirement that the notice satisfy the

particularity requirements normally required of language used in

a charging instrument. . . . Instead, the Committee opted for a

generalized notice provision which requires the prosecution to

apprise the defense of the general nature of the evidence of

extrinsic acts.”

     Here, the Government provided defense counsel with the

following timely disclosure:

     [T]he government may seek to introduce evidence in its
     case-in-chief that your client financed a similar
     transaction with members of Ms. Diaz’s [Vought’s
     assistant’s] family in connection with the conversion
     of Independence Savings Bank to stock form and advanced
     approximately $1 million to Ms. Diaz to effect a
     purchase of stock by her family members. This evidence
     may be introduced for all legitimate purposes including
     to show intent, preparation, knowledge, opportunity,
     plan, and absence of mistake.

See Gov’t Opp. at 29.        The Government also stated:

     Moreover, the United States reserves the right to
     introduce any other such evidence pursuant to Rule
     404(b) for all legitimate purposes including to show
     intent, preparation, knowledge, opportunity, plan, and
     absence of mistake. At this stage of pretrial
     proceedings, the United States cannot determine whether
     other crimes or bad acts evidence including that set

                                      36
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06    Page 37 of 44



     forth above will be part of its case-in-chief since the
     United States has no idea what the defendant’s claims
     at trial will be. Whether the United States does
     introduce other crimes or bad act evidence depends in
     large part on how the actual trial proceeds and whether
     knowledge, intent, plan, or identity is a disputed
     issue. . . . Nevertheless we are providing you with
     this information so that you may consider it as
     evidence that the Government may seek to introduce
     pursuant to Rule 404(b).

Id. at 30-31.

     The Government’s disclosure of the Diaz evidence easily

meets the “generalized notice” requirement of Rule 404(b), as the

Government both described the potential evidence and identified

the purposes for which it would be offered, which purposes were

clarified at oral argument (see Tr. at 110-11).             See, e.g.,

United States v. Richardson, 837 F. Supp. 570, 575-76 (S.D.N.Y.

1993) (refusing to require the government to provide “more than

notice of the ‘general nature’ of the extrinsic acts evidence it

will seek to admit because that is all that is required by the

specific language of Rule 404(b) and it is sufficient to allow

the defendant to adequately prepare for trial”).             The

Government’s broad reservation of rights to introduce other Rule

404(b) evidence for “all legitimate purposes” cannot contravene

this District’s requirement that any such evidence, along with

the purpose for which it would be offered, must have been

disclosed within 10 days of Vought’s arraignment.             Thus, as the

Government acknowledged at oral argument, unless the Government

hereafter seeks admission of additional 404(b) evidence which it

                                    37
      Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 38 of 44



recently discovered, or provides other good cause for the failure

to give earlier notice, other 404(b) evidence will be excluded.

See Tr. at 104-08.      Moreover, the Government will be required to

proffer any additional 404(b) evidence to the Court for ruling on

admissibility before it is offered at trial.8

      Thus, as outlined above, defendant Vought’s motion to

exclude [Doc. # 33] will be granted in part and denied in part.

VI.   MOTION FOR A SUBPOENA [DOC. # 38]

      Defendant Lucarelli also moves for the issuance of a

subpoena to be served on NAB calling for the production of NHSB

records relating to whether, at the time of the IPO, NHSB “was

well aware that depositors seeking to purchase shares in the IPO

were doing so pursuant to agreements with others to finance those


      8
      See Fed. R. Evid. 404(b), Advisory Comm. Notes (“Nothing in
the amendment precludes the court from requiring the government
to provide it with an opportunity to rule in limine on 404(b)
evidence before it is offered or even mentioned during trial.
When ruling in limine, the court may require the government to
disclose to it the specifics of such evidence which the court
must consider in determining admissibility.”); see also United
States v. Figueroa, 618 F.2d 934, 938-39 (2d Cir. 1980) (“If the
evidence is offered to prove that the defendant committed the act
charged in the indictment, for example, by proving identity or
common scheme, the evidence may be offered during the
prosecution’s case-in-chief, unless the defendant’s commission of
the act is not a disputed issue. On the other hand, if the
evidence is offered to prove the defendant’s knowledge or intent,
the offer of similar acts evidence should await the conclusion of
the defendant’s case and should be aimed at a specifically
identified issue. This enables the trial judge to determine
whether the issue sought to be proved by the evidence is really
in dispute and, if so, to assess the probative worth of the
evidence on this issue against its prejudicial effect.”).


                                      38
    Case 3:05-cr-00268-JBA    Document 75   Filed 06/15/06   Page 39 of 44



purchases and transfer the shares to those others after they were

acquired.”   Lucarelli Mem. at 16.        Lucarelli contends that “[i]f

in fact the NHSB was aware of such agreements, it is unlikely

that it was deceived in any manner and, therefore, it is unlikely

that the fraud charged in the indictment occurred.”

Specifically, Lucarelli claims that “assuming, [arguendo,] that

the Government proves that Mr. Lucarelli was aware of the alleged

inaccuracies in the stock order forms, Mr. Lucarelli will seek

acquittal based upon the Government’s inability to prove that he

believed the NHSB was unaware of the inaccuracies in the forms.

If Mr. Lucarelli believed the NHSB was aware of these alleged

inaccuracies, he lacked criminal intent to deceive or harm

anyone.”   Lucarelli Reply at 6.      Lastly, Lucarelli contends that

the Government “should be ordered to furnish [him] under it[s]

Brady obligations with all material or information in its

possession proving or tending to prove that the NHSB was aware of

the inaccuracies in stock order forms, or consciously avoided

this knowledge, or that the depositors, or [the Government’s

witnesses] believed, or relied upon the fact, that the NHSB was

aware of the inaccuracies in the forms, and therefore did not

have criminal intent.”       Id. at 9.

     After oral argument, at the Court’s request, Lucarelli

submitted a revised and narrowed proposed subpoena, seeking:

     1.    Any and all writings, tapes, computer files and
           disks in your possession, or under your control,

                                     39
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 40 of 44



          including, but not limited to, documents of any
          kind, correspondence, e-mail communications, tape
          recordings, notes, and written analyses and
          reports, reflecting, relating and referring to the
          knowledge and/or speculation and/or awareness of
          employees and/or representatives of the New Haven
          Savings Bank (“NHSB”) and/or its successor,
          Newalliance Bancshares, Inc., and/or its
          underwriter, Ryan Beck, of the fact that
          depositors of the NHSB who were applying to
          purchase shares in the IPO, and/or who had
          purchased shares in the IPO had entered into
          agreements with others to (1) assist in the
          financing of the purchase of those shares and/or
          (2) to transfer shares acquired in connection with
          the IPO to others for any reason.

     2.   Any and all writings, tapes, computer files and
          disks in your possession, or under your control,
          including, but not limited to, documents of any
          kind, e-mail communications, tape recordings,
          notes, and written analyses and reports,
          reflecting evidence of any and all agreements
          between any depositor of the NHSB and another, in
          advance of the submission of such depositor’s
          stock order form seeking to acquiring [sic] shares
          in the IPO, to transfer those shares to another
          after they were acquired, or to transfer
          proceedings from the sale of such shares to
          another.

     The Government objects to this request, arguing that Rule

17(c) was not intended as a broad discovery device, and that

Lucarelli must demonstrate the relevance of the requested

documents before issuance of a subpoena.         The Government claims

that the requested documents are not relevant because “[t]here is

no question in the current case that, if the stock purchasers had

not represented that they were purchasing the shares with their

own money, and that they had not agreed to transfer the shares,

the stock would not have been transferred to them,” and as a

                                    40
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 41 of 44



result there can be no doubt that the misrepresentations were

“material.”   Gov’t Opp. at 34-35 (citing Thomas, 377 F.3d at 240-

44 for the proposition that “evidence regarding the victim’s lack

of caution when dealing with the scheme has absolutely no bearing

on the issue of guilt, and may properly be excluded from trial”).

     Fed. R. Crim. P. 17(c) provides that “[a] subpoena may order

the witness to produce any books, papers, documents, data, or

other objects the subpoena designates.        The court may direct the

witness to produce the designated items in court before trial or

before they are to be offered in evidence.”          The Supreme Court

has cautioned that “[i]t was not intended by Rule 16 to give a

limited right of discovery, and then by Rule 17 to give a right

of discovery in the broadest terms. . . . Rule 17(c) was not

intended to provide an additional means of discovery.”             Bowman

Dairy Co. v. United States, 341 U.S. 214, 220 (1951); accord

United States v. Murray, 297 F.2d 812, 821 (2d Cir. 1962) (“[Rule

17’s] purpose is rather that of the traditional subpoena duces

tecum, to permit a party to obtain books, papers, documents or

other objects for use by him as evidence.”).          Thus, “[t]he party

seeking production has the burden of showing that production

would not be ‘unreasonable or oppressive’” by establishing:

     (1) that the documents are evidentiary and relevant;
     (2) that they are not otherwise procurable reasonably
     in advance of trial by exercise of due diligence; (3)
     that the party cannot properly prepare for trial
     without such production and inspection in advance of
     trial and that the failure to obtain such inspection

                                    41
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 42 of 44



     may tend unreasonably to delay the trial; and (4) that
     the application is made in good faith and is not
     intended as a general “fishing expedition.”

In re. Irving, 600 F.2d 1027, 1034 (2d Cir. 1979) (citing United

States v. Nixon, 418 U.S. 683, 699-700 (1974)).

     Lucarelli’s argument that the documents he seeks would be

relevant to his defense of absence of fraudulent intent is

unpersuasive because even if the Bank knew misrepresentations

were being made by depositors, such evidence does not disprove

defendants’ intent to defraud.      Cf. Thomas, 377 F.3d at 242

(“[T]he Eleventh Circuit recently rejected the exact argument

[defendant] is advancing here – that the mail fraud statute does

not reach material, false representations if a reasonable person

would not have acted upon them. . . . We therefore reject

Thomas’s argument that the foolishness of Pastor Holmes’s belief

in Thomas’s fraudulent scheme somehow vitiates Thomas’s

fraudulent intent.    We refuse to accept the notion that the

legality of a defendant’s conduct would depend on his fortuitous

choice of a gullible victim.”) (internal quotation omitted).

     However, as the Government acknowledged at oral argument, a

subpoena narrowly tailored to obtain information concerning the

Bank’s awareness that some of its stock purchasers were being

financed by non-depositors would be relevant to the issue of




                                    42
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06    Page 43 of 44



whether the Bank was deceived.      See Tr. at 92.9         And, as the

Government agreed, if the Bank was not deceived, the Government’s

fraud theory fails.    Id. at 103 (“THE COURT: So, if the bank

wasn’t deceived, the rest of the case folds?          MR. RING: I guess

if the entire bank and everybody in it wasn’t deceived . . . I

think that’s right . . .”).

     Thus, for the reasons set out above, the Court grants the

motion for a subpoena on the narrower grounds as follows:

     1.   Any and all writings, tapes, computer files and
          disks in your possession, or under your control,
          including, but not limited to, documents of any
          kind, correspondence, e-mail communications, tape
          recordings, notes, and written analyses and
          reports, reflecting, relating and referring to the
          knowledge or awareness of employees and/or
          representatives of the New Haven Savings Bank
          (“NHSB”) and/or its successor, Newalliance
          Bancshares, Inc., and/or its underwriter, Ryan
          Beck, of the fact that depositors of the NHSB who
          were applying to purchase shares in the IPO had
          entered into agreements with others regarding the
          sale or transfer of those shares or the right to
          subscribe for those shares.

     2.   Any and all writings, tapes, computer files and
          disks in your possession, or under your control,
          including, but not limited to, documents of any
          kind, e-mail communications, tape recordings,
          notes, and written analyses and reports,
          reflecting any and all agreements between any
          depositor of the NHSB and another, in advance of
          the submission of such depositor’s stock order
          form, related to acquiring shares in the IPO,
          transfer of those shares to another after they


     9
      Lucarelli’s in camera submission appears to demonstrate a
good faith basis for believing such materials may exist, such
that the issuance of a narrowly tailored subpoena would not
constitute a fishing expedition.

                                    43
    Case 3:05-cr-00268-JBA   Document 75   Filed 06/15/06   Page 44 of 44



          were acquired by the depositor, or transfer of the
          proceeds from the sale of such shares to another.

VII. CONCLUSION

     For the foregoing reasons, defendants’ Motions to Dismiss

[Docs. ## 30, 35] are DENIED, defendants’ Motions for Bill of

Particulars [Docs. ## 34, 37] are DENIED, defendant Vought’s

Motion to Exclude Rule 404(b) Evidence [Doc. # 33] is GRANTED in

part and DENIED in part, and defendant Lucarelli’s Motion for

Issuance of a Subpoena [Doc. # 38] is GRANTED, as described

above.


                                  IT IS SO ORDERED.

                                          /s/
                                  Janet Bond Arterton
                                  United States District Judge

Dated at New Haven, Connecticut this 15th day of June, 2006.




                                    44
